            Case 2:20-cv-00164-TOR                  ECF No. 16           filed 07/09/20    PageID.187 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington

                     THOMAS MATULIS
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-0164-TOR
                                                                     )
                                                                     )
              INLAND POWER & LIGHT CO.,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: All claims and causes of action in this matter are DISMISSED without prejudice.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                       Thomas O. Rice                                        on Defendant's Motion to
     Dismiss ECF No. 8


Date: July 9, 2020                                                           CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
